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             IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                 CENTRAL DIVISION




 UNITED STATES OF AMERICA,
          Plaintiff,                               MEMORANDUM DECISION AND
                                                   ORDER ON GOVERNMENT’S
                                                   MOTION IN LIMINE RE:
                                                   PHOTOGRAPHS AND
                                                   DEFENDANT’S MOTION IN
                                                   LIMINE OBJECTING TO
                                                   PHOTOGRAPHS


                  vs.


 SALVADOR RAMERIZ and MIGUEL                       Case No. 2:09-CR-784 TS
 ANGEL CHAVEZ,
          Defendant.




      The government moves in limine for the admission of six booking photographs of

three defendants taken by the jail on the day of Defendants’ arrest.1 The government

argues that the photographs are admissible under Fed. R. Evid., 901(a), 401, 402, 403 and

404(b). The government contends that identity is a key issue for trial. The government

alleges that the Defendants have changed their appearance since the date of the alleged



      1
      One of the Defendants has since entered a plea and therefore, the Motion is
moot as to that Defendant.

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offenses and arrests. The government also seeks to have the witnesses be allowed to

identify the Defendants both in-court and through the use of booking photographs,

providing that a proper foundation is established. The government argues that the

photographs are not identifiable as “mug” shots and also argues that they are not Rule

404(b) evidence because they were taken in connection with this case, not another case.

      Defendant Rameriz objects to the Government’s Motion and files his own Motion in

Limine to exclude the photographs as prejudicial.     Defendant argues that there is no

evidence that the Defendants have changed their appearance since they were arrested

and that the proffered witnesses will testify that they had significant contact with

Defendants to make identification by a photograph unnecessary. Defendant also objects

to allegations of witness intimidation as baseless.

      The government relies on United States v. Condrin2 for the admissibility of the

photographs. In Condrin, there was testimony regarding the actions of a “bald man.”

Booking photographs of the defendant revealed he was bald at the time of the events in

question, but he had grown a full head of hair by the time of trial.       Under these

circumstances, the Tenth Circuit held it was not error to admit the photograph for

identification purposes because it was relevant and also was not prejudicial where it

contained no incriminating information suggesting it was a mug shot.

      Furthermore, the photograph was taken in conjunction with the arrest for the
      charges brought in this case. Any testimony to that effect could easily have
      remedied potential prejudice as a jury would hardly be surprised that the
      person facing charges before them was first arrested and booked on those


      2
          473 F.3d 1283 (10th Cir. 2007).

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       charges. It would have taken no effort on the part of the defense to bring out
       such facts.
       In conclusion, the district court did not abuse its discretion in determining the
       photograph's probative value outweighed any prejudice by clarifying the
       witness references to the “bald man” identified as Condrin.3

       In the present case, the photographs do not bear identifying characteristics of “mug

shots” such as numbers or the name of the institution. However, they do show such

features as tattoos and the profile pictures are obviously booking photos.

       The Court will reserve ruling on this issue. As of yet there is no showing of the

change in appearance of a defendant or that his prior appearance was relevant to the

witnesses’ testimony on identity.4 Where the relevance is not shown, it is not possible to

determine if the probative value would outweigh any prejudicial effect of the photographs.

It is therefore




       3
           Id. at 1286-87.
       4
       As stated in Condrin, a proffered photograph need not “go to a fact in dispute to
be admissible” because background evidence is offered and admitted as an aid to
understanding. 473 F.3d at 1286 n.2 (quoting Fed. R. Evid. 401, advisory committee’s
note). However, in order to conduct the balancing test required by Rule 403, the
probative value of the evidence must be first assessed.

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      ORDERED that the government’s Motion in Limine Regarding Photographs (Docket

No. 247) and the Defendant’s Motion in Limine Objecting to the Photographs (Docket No.

284) are RESERVED FOR TRIAL

      DATED November 12, 2010.

                                       BY THE COURT:


                                       _____________________________________
                                       TED STEWART
                                       United States District Judge




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